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                                 UNITED STATES DISTRICT COURT                            JAN 13 201"

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                                      FOR SOUTH DAKOTA
                                          RAPID CITY

Earl H Smith, Plaintiff                             vs.           Dr. Frankie Delgado and
                                                                 the Director of the Ft. Meade VA
                                                                 Center, Defendants.


                                          Medical Malpractice


Claim... #1. The U. S. District Court has jurisdiction because Dr. Delgado and the VA Director act
under Federal Jurisdiction since the VA is part of the US Government. The state would not have any
jurisdiction.

#2. Background... 1 took a three deck fall while in the US Navy in 1965. 1 injured my neck and back.
Pain has increasedlbecome worse over the years. It is now extremely severe! ... For years the VA
gave me Hydrocodone for my pain!!! (I never overdosed on Hydrocodone during that time)

#3. Recently, according to what I've heard, a person unknown to me overdosed on pain medicine, so
the VA here went on a tear denying others/me pain medicine!!! (The VA offered me a useless Tens
Unit and Lidocaine "greasy kid stuff". Both do little good!!! The Tens Unit can't even be used on my
back in the pain areas because they are bony areas; it must be used over muscled areas.)

#4. So, I'm left in constant extreme pain, and the VA goes blissfully on as Dr. Delgado ignores my
pleas for Hydrocodone, Oxycontin, or "something" for my pain! 1 have written the Director about
this, and 1 was ignored. (I feel that the Director and Dr. Delgado couldn't care less how much pain 1
suffer!!!)

       Therefor, 1 sue in a cause of medical malpractice for pain and suffering, and I request that the
defendants be forced to pay me the sum of $2,000,000.00.


       All statements herein are true and correct to the best of my knowledge and belief;

                                     Signed:   ,!'a-zLti~                 Date: Jan. 10,2014
                                               Earl H Smith
